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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )          4:04CR3049
                                               )
                     Plaintiff,                )
                                               )
       vs.                                     )          MEMORANDUM
                                               )          AND ORDER
MIGUEL FIGUEROA-CARDONA,                       )
                                               )
                     Defendant.                )

       The government has filed a motion for reduction of sentence pursuant to Federal Rule
of Criminal Procedure 35(b) and request for hearing (filing 67). Accordingly,

       IT IS ORDERED that:

       (1)    The government’s request for hearing on Rule 35(b) motion is granted;

       (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 67) has been set before the undersigned United States district judge at 1:30
p.m., Friday, September 23, 2005, in Courtroom No. 1, United States Courthouse and Federal
Building, 100 Centennial Mall North, Lincoln, Nebraska;

       (3)  At the request of the defendant through his counsel, and with the agreement of
the government, the defendant may be absent from the hearing on the Rule 35 motion;

       (4)    The Marshal is directed not to return the defendant to the district;

       (5)    The defendant is held to have waived his right to be present;

        (6)    Counsel for the defendant, if previously appointed pursuant to the Criminal
Justice Act, is reappointed to represent the defendant for purposes of the Rule 35(b) motion.
If retained, counsel for the defendant remains as counsel for the defendant until the Rule
35(b) motion is resolved or until given leave to withdraw;

       (7)    The Federal Public Defender shall provide CJA counsel with a new voucher;
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       (8)    The Clerk of the Court shall provide a copy of this order to counsel for the
government and counsel for the defendant. The undersigned’s judicial assistant will provide
a copy to the Federal Public Defender.

       September 15, 2005.                BY THE COURT:

                                          s/ Richard G. Kopf
                                          United States District Judge




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